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                                  UNITED STATES DISTRICT COURT
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                                 CENTRAL DISTRICT OF CALIFORNIA
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 10    REGINALDO JESUS ACOSTA,                          Case No. LACV 20-8617-DSF (LAL)

 11                                   Petitioner,       JUDGMENT
 12                         v.

 13    RAYMOND MADDEN,

 14                                      Respondent.

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 16
 17           Pursuant to the Order Accepting Report and Recommendation of United States

 18    Magistrate Judge,

 19           IT IS ADJUDGED that the Petition is denied and this action is dismissed with prejudice.

 20
 21    DATED: October 1, 2021
 22                                                 Honorable Dale S. Fischer
                                                    UNITED STATES DISTRICT JUDGE
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